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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:01CR272
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                       ORDER
                                            )
LATAYO RAYMOND CLARK,                       )
                                            )
             Defendant.                     )

      This matter is before the Court on the motion filed by Assistant Federal Public

Defender Jessica Douglas to withdraw (Filing No. 430).

      NECrimR 44.1(e) states that a motion to withdraw must include proof of service of

the notice on the client. Such notice was not provided. Therefore, the motion is denied

without prejudice.

      IT IS ORDERED that the motion filed by Assistant Federal Public Defender Jessica

Douglas to withdraw (Filing No. 430) is denied without prejudice.

      DATED this 10th day of June, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
